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Pro Se 3 (Rev. 12/16) The Defendant’s Answer to the Complaint

UNITED STATES DISTRICT COURT
for the

Note ru District of Texas
“Forte LUord+h, Division

Case No. uf LAO ~- CN * O103F-0

legal Board, Mewacrs
? OC Spo AR BRA Will 4egh

(to be filled in by the Clerk's Office)

Plaintiffs) LS & Lon' +! CO
(Write the full name of each plaintiff who 1s filing this complaint, Lolo
If the nantes of all the plaintiffs cannot fit in the space above, \S

please write “see attached” in the space and attach an additional
page with the full list of names.) we a
tre RPA?

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)

Jury Trial: (check one) [Yes [No

+
Sennite- Miracdisan
Defendant(s)
(Write the full name of each defendant who is being sued. If the
nanies of all the defendants cannot fit in the space above, please

write “see attached” in the space and attach an additional page
with the full list of names.}

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THE DEFENDANT’S ANSWER TO THE COMPLAINT

I. The Parties Filmg This Answer to the Complaint

Provide the information below for each defendant filing this answer or other response to the allegations in the

plaintiff's complaint. Attach additional pages if needed,

Name Seana. Chncran Wiad son
Street Address BEaiol S Canyon Qed 6

City and County ~ cayepar
State and Zip Code Avizenan Kh e> 2 BY

Telephone Number (4 CO \ QU —- Gow

E-mail Address “yWnodkt son azia) nar, COM

Ih. The Answer and Defenses to the Complaint
A. Answering the Claims for Relief

On a separate page or pages, write a short and plain statement of the answer to the allegations in the
complaint. Number the paragraphs. The answer should correspond to each paragraph in the complaint,
with paragraph | of the answer corresponding to paragraph 1 of the complaint, etc. For each paragraph

in the complaint, state whether: the defendant admits the allegations in that paragraph; denies the

allegations; lacks sufficient knowledge to admit or deny the allegations; or admits certain allegations

but denies, or lacks sufficjgnt knowledge to admitor or deny, the rest.
- Please See. CAA CINE OL

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B. Presenting Defenses to the Claims for Relief

Write a short and plain statement identifying the defenses to the claims, using one or more of the
following alternatives that apply.

1, The court does not have subject-matter jurisdiction over the claims because (briefly explain
why there is no federal_question jurisdiction or vee ey tee jurisdiction; see the complaint form for more
information >, ( Sb Cc % Cure. nt
_ PA is Nox, cL QO
c KYRA Khe Stnte. lea Aw of Me Wes.
Leas

We a bark WNembers of +e ARO? A | Ly
past anck Present, are feody iB HSN they agent
2. The court does not have personal jurisdiction over the defendant because (briefly explain) ane mS
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e venue £ Where Soul sted 18 § unger this case Ge (briefly ehctte of Ve.

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Ce PRPBPA is a Ch and AZ registered
AANZON ON BLA aonce G84.

4, the endant was served but the process=the form of the summons—was insufficient because
(briefly explain)

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ae FAS CeO Warats 1 1@ Mme To

The manner of serving the defendant with the summons and complait was insufficient because

(briefly explain) 48
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gi cha MY former DOSS , Lone

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CONCSA VC erccadte 7. wae Wen anc, WGaS ‘Ween wey

ny,

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Vines Shae eo Re PCF S over a lo ek ORES pen a.
6. The complaint fails to state a claim upon which relief can be granted because (briefly expla msds Sy
. the facts alleged, even if true, are not enough to show the plaintiff's right to recover) lovee tyN0 {+ Kee
, G .
ANeres heen +O LACOME Gina § ae $05. St
Wim lec a\\ COADLOY cok la fre? Leg Yne cho a 805 ’ ort
Ronloea De na ake. Seen Seonce, ot Wee Server.

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a law ZS we nibs ARS, 4 a” Noke a
3 Prien = . V\ needs to be joined (added)

7 Anoth riya ve) a yes
Cie The reason is (briefly expla ° jorning omaha ee is requi rela ‘
Veen ) TON CL OL La Ch 9
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And pasSussrads” Ie Chole ne Os

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a. If the basis for subject-matter jurisdiction is diversity of citizenship, state the effect of
adding the other party:

The other party is a citizen of the State of (name)

Or is a citizen of (foreign nation) . The amount of

damages sought from this other party is (specify the amount)

b. Ifthe claim by this other party is based on an alleged violation of a federal
constitutional or statutory right, state the basis:

C. Asserting Affirmative Defenses to the Claims for Relief

Identify an affirmative defense or avoidance that provides a basis for the defendant to avoid liability for
one or more of the plaintiff's claims even if the basis for the claim is met. Any affirmative defense or
avoidance must be identified in the answer, Include any of the following that apply, as well as any
others that may apply.

The plaintiffs claim for (specify the elaim)

aa GAamaaes
SJ SJ
is barred by (identify one or more of the following that apply):

1. Accord and satisfaction (briefly explain)

2, Arbitration and award (briefly explain}

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Permranrenlle AiscbwolecK anck ~atbout To
3. Assumption of risk (briefly explain) love. Mm heyre to Y e Closure,
LC have OC assets an KO
(Acoma and No cab; (chy +e
Cavin feture \ncome wlth m
4, Contributory or comparative negligence of the plaintiff (briefly explain) 1 O4rre pe i

wy AockerS |

5. Duress (briefly explain) .
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6. Estoppel (briefty explain)

7, Failure of consideration (briefly explain)

“Fraud (briefly explain)

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Vedeal and skate laws -
10. Injury by fellow employee (briefly explam) - Gee ALN Pe eh Um alc cls
Vee Ay vend ww m4 toll Ko bec CCRT
Loemer oss, cosassepnicdy ach WVpc; eaecbne fe

yayurech Ye ech Se CC , a
Ond KS Med (ely Catal  KeBPR:
il. Laches (Delay) (briefly explain

12, License (briefly explain)

13. Payment (briefly explain)

14. Release (briefly explain)

15. Res judicata (briefly explain)

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Speers

16. Statute of frauds (briefly explain)

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17. Statute of limitations (briefly explain)

18. Waiver (briefly explain)

19, Other (briefly explain)

D. Asserting Claims Against the Plaintiff (Counterclaim) or Against Another Defendant
(Cross—Claim)

For either a counterclaim against the plaintiff or a cross—claim against another defendant, state briefly the
facts showing why the defendant asserting the counterclaim or cross—claim is entitled to the damages or
other relief sought. Do not make legal arguments. State how each opposing party was involved and
what each did that caused the defendant harm or violated the defendant’s rights, including the dates and
places of that involvement or conduct. If more than one counterclaim or cross-claim is asserted, number
each claim and write a short and plain statement of each claim in a separate paragraph. Attach

additional pages if needed.

1. The defendant has the following claim against the plaintiff (specify the claim and explain it;
inelude a further statement of Jurisdiction, if needed}:

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bel, locs of > en y JAY Nc Seve Ssing, CV
2, The defendant has the followimg claim against one or more lh the a defendant OKT AC aw

claim and explain it; include a further statement of jurisdiction, ifneeded).

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3. State briefly and preckdiy Ww at damages Or 0 r relief the party asserting a counterclaim or Gf DONC

cross—claim asks the court to order. Do not make legal arguments. Include any basis for
claiming that the wrongs alleged are continuing at the present time. Include the amounts of any
actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons that are alleged to entitle
the party to actual or punitive money damages.

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a. The defendant asserting the counterclaim or cross—claim against (specify who the claim is

against} Ke Ope VOW. Lia ae aonb. alleges that the following
injury or damages resulted (specifi): WeuUM SHMMHS — actuced

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b, The Iden seeks the Tollowing damages or other relief (specify): Cok, Len,

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Certification and Closing COMAQe S te MU CPLA OE ct <

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, informati ae ee
and belief that this answer: (1) is not being presented for an improper purpose, such as to harass, cause

unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a

nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery; and (4) the answer otherwise complies with the requirements

of Rule 11,

A, For Parties Without an Attorney

T agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: \\ / (cf / AS
Signature of Defendant {) Lanny. Ae Vcd,

Printed Name of Defendant { J \ \e mnie VYiad« (oar \

B, For Attorneys

Date of signing:

Signature of Attomey

’ Printed Name of Attorney

Bar Number

Name of Law Firm
Street Address
State and Zip Code

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e-mail Adds VMnadi Sonaz Mail. Cann

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From: Jennifer Madison imacisonaz@amail.com
Subject: Civil Action No. 4:23-cv-01037-0-please confirm receipt
Date: Nov 14, 2023 at 3:11:24 AM
To: gfancher@bwwlaw.com, Howie Bedell jabecdeli@comcast.ne!
Bec: natemiller451@gmail.com

Dear Honorable District Court Judge and Mr. Fancher,

I'm hereby respectfully submitting my motion, please, for a continuance, or
reasonable extension of time, to respond to or mediate this lawsuit, with experienced
counsel, considering the 99 year old APBPA nonprofit, who | am still, in writing,
requested by the legal Board Members, to be on the current APBPA Advisory Board
for, and I'm not fired from, nor have | legally resigned in writing from the APBPA, and
I've been employed by the APBPA, and it’s legal Board Members since 2017, and it,
too, is very much at stake here, with any and all Court decisions, involving it's legal
name and logo.

Moreover, Mr. Fancher's client’s, are not by any stretch, legal APBPA Board members,
nor current legal employees of the APBPA, and as such, cannot bring lawsuits on
behalf of the APBPA. They cannot legally prove they have been elected to any APBPA
positions by the legal APBPA Board Members, past or present, as they're claiming,
because they legally have not, which we have Kameron Loe and Kevin Simmons,
under oath in front of a Judge in AZ workers comp hearings, fully admitting as such.

The Association of Professional Ball Players of America, formed by Lou Gehrig and
Babe Ruth and others in 1924, is very much at stake, along with the 30+ monthly
APBPA assistance recipients and their families, who rely on the APBPA’'s ongoing
monthly financial assistance, to not go homeless every month, with the decision of
this Court, even though it's solely the APBPA trademark usage being litigated, as this
lawsuit was filed vexatiously and maliciously, solely in an attempt to legitimize
individuals who are, in actuality, banned by the legal Board Members of the APBPA,
and who cannot possibly achieve legitimacy any other way.

Mr. Fancher's clients were not elected by the legal APBPA Board Members, and
currently have multiple open law enforcement and government agency investigations
open against them for this matter, that the legal APBPA Board Members please
request be allowed to continue unabated, as their outcomes should fully free up the
Court's schedule, as we expect a full dismissal, without prejudice, once charges are
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legally pressed against Mr. Fancher’s clients which we realistically expect very shortly,
considering the over abundance of evidence against them.

These open law enforcement investigations, realistically, will be sending both of Mr.
Fancher’s clients to prison, as they’re willfully breaking multiple federal and state
laws, and utilizing stolen APBPA assistance funds, without being currently employed
by the APBPA, while seriously and willfully not helping the 30+ monthly APBPA
assistance recipients, and willfully obstructing the legal APBPA Board Members, that
they achieved with an illegal hacking of APBPA systems and forged documents,
utilizing the APBPA logo, to fund this lawsuit and pay Mr. Fancher’s legal fees.

Furthermore, Mr. Fancher’s clients, after blatantly and illegally stealing APBPA
assistance funds, have chosen to fund vexatious and malicious lawsuits, with those
stolen funds, against current employees, such as myself, and 26 others, who are
solely standing up to their blatant illegal hacking of the APBPA.

In addition, my three year ongoing workers compensation case, is also being litigated
with the APBPA, whose legal Board Members are 100% for my getting my workers
compensation benefits finally, and this Court's decision, if I'm forced to litigate in my
seriously handicapped condition, can negatively and seriously affect my Civil Rights in
that case.

I'm severely handicapped, and I'm going to request that this format please be
acceptable as such, as my hands aren’‘t working well enough anymore, to fill out the
required legal format documents by hand.

I've tried, and I've cailed free legal help ad nauseum, but everyone is too backlogged
to help me right now, and | haven't had any income in over 3 years, and I'm facing
imminent December 10th foreclosure of my beloved home, due to Mr. Fancher's
clients’ illegal hacking of the APBPA, and retaliatory obstruction of my workers comp
case, so | can't pay anyone to help me.
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| cannot handwrite legibly anymore, I’m extremely dizzy, and neuro fatigued, and I'm
having increasing visual difficulties seeing at all, including seeing static and virtual
snow, that my neuro optometrist believes is a blood flow issue to my brain, from my
industrial degenerating brain injury, which is also showing up on my QEEG scans, with
my brain not getting enough blood flow so this is genuinely the best | can do.

\'m also too injured, in pain, and seriously handicapped with this injury most likely
being fatal, to be doing any work, according to my entire team of medical doctors. I'm
in serious worsening, most likely terminal shape and very poor financially so | haven't
found anyone to help me deal with this yet.

Please bear with me.

| am diagnosed by my team of medical doctors, with a degenerating, most likely fatal,
brain, cervical, and spine, work caused injury, that my former boss with the APBPA did
to me in the office, in 2017, and hospice has approved me, with my symptoms and last
Honor Health ER report.

I've chosen to delay entering hospice as long as | currently can, as my health
insurance will not let me get treated further when | do, but to try to fight to be alive
with my children as long as possible, but per Honor Health ER doctors, | cannot be
given oxygen or anything medically, to make me more comfortabie, as it will further
weaken the generalized weakening my entire body is experiencing, from my
catastrophic work injury. {'m not allowed to stress at all, by my team of doctors, as
stress makes my symptoms markedly worse.

| cannot breath fully, with any breath, which is medically documented for over three
years, which is worsening, especially with any stress, or effort to verbally
communicate, which has left me uncomfortably gasping like a fish, and when it's
gotten worse over the years, the last ER visit where | went because my not being able
to breathe is causing me so much physical distress, the doctors said | have a
degenerating entire body weakness from my work injury worsening, which is causing
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my breathing to shut down increasingly.

My medical doctors, including my neuro optometrist, believe I'll most likely suffocate
at any time like this, or I’m at imminent risk of a heart attack or stroke. My brain is
already accepted into brain injury research, post mortem, with Dr. McKee’s team in
Boston and the World brain bank to hopefully help science learn from my specific
concussion injury so you fully appreciate the seriousness of my injury I'm trying to
survive currently.

That said, please be as kind and cordial as possible in all correspondence, as I'm not
allowed to stress at all medically. | most likely cannot survive the stress of any
malicious litigation, per my team of doctors, as I've been worsening on medical leave
from the APBPA since 9/2020. Sudden stressors make me lose my center field of
vision for days at a time. This is all extremely terrifying to be experiencing.

| also say this, so you please bear with what I’m putting before you. If | say anything
i'm not allowed factually to say, by law, please kindly correct me. As I’m Pro Se, until |
can hire a lawyer, | absolutely want to only follow and respect the rules and all parties
involved. The trademark lawyer we spoke with today agreed to accept the APBPA’s
Board Members’ case, but wants $15,000 as a retainer and says to unpack this in
Court most likely would cost $150,000 to litigate which !, and we, don’t have and the
APBPA illegally stolen assistance funds shouldn't and cannot be funding either.

My serious brain injury affects how | communicate so here are the facts as ! know
them, that must please be taken into consideration, not as much for my own fate in
this, but the fate of the 99 yr old nonprofit | work for, as if this is fully litigated the
facts will support, that this lawsuit is vexatious and malicious, filed by Kameron Loe
mostly, who is motivated by two reasons in this.

One, Kameron’s personal business catastrophically failed in 2020, resulting ina
$200,000 personal judgment from 8/2021. He hacked into the APBPA in 9/2021
illegally and improperly for his own benefit. Kameron has been banned, since 2020,
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from the APBPA for his own blatant malfeasance within the APBPA, as witnessed and
documented by the Board and witnesses.

Two, he is friends with, and part of the Baseball Brotherhood, as they call it, with the
retaliatory former boss, who did this injury to me, who | got an injunction against
harassment from, there’s texted and transcribed vmail death threats from him to me,
in the file I'm sending to you now, Mr. Fancher, and also witness statements from an
umpire who has worked with me and our Board since 2018, and witnessed me staying
with an undercover Phoenix police office, due to the worsening ongoing threats from
Kameron Loe and his friend, my former boss, who did this injury to me, as they badly
want to silence me, so the details of abuses | suffered, working for my former boss,
do not come to light, and hurt their “Brotherhood” in any way.

| don’t wish harm on anything or anyone. I’m only seeking my lawful workers
compensation benefits, and | do not blame my employer, the APBPA, for my former
boss injuring me. It happened, and it needs to be covered by the workers comp
insurance company who is now liabie, is all.

To what end do your clients wish to sue me, Mr. Fancher, as you can clearly see by all
my actions in life, that I'm not ever retaliating against the APBPA, | haven't had any
income in over three years due to your clients’ willful and illegal obstruction of my
workers comp settlement, and I’m most likely dying from my work injury according to
all my medical doctors. Is it to cruelly torture my last days on earth without mercy, and
deny me that time with my children, and force me to work for your clients, while I'm on
documented medical leave from work, since 9/2020, because there's no other reason
to sue me, as suing me is not going to make it magically appear that any legal APBPA
Board Members elected your clients. Even if you magically won judgments against
me, it doesn’t magically make me ever able to pay you or your clients, as I'm penniless
and about to be homeless, so to what end are we in Federal Court over this?
Realistically what damages have | ever done to the APBPA, or your clients, other than
stating the lawful facts about them and their illegal activities as they are actively
illegally impersonating and hacking the APBPA.
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| promise in writing to never utilize the APBPA logo without the jegal Board first
directing me to, which is all I’ve ever done from day one, you'll discover. So no Judge
is necessary to enforce usage of the APBPA logo unless it’s to try to legitimize your
clients because there's no other way for them to show all the 101,800 members
involved that they have any legal claim to the APBPA logo or assistance funds. That's
the root cause of this lawsuit and what your clients are seeking, Mr. Fancher.

Nevertheless, my former boss with the APBPA, and Kameron, have been deemed
extremely dangerous, due to their behavior within the APBPA, and as they becarne
increasingly retaliatory, after their being banned for their own malfeasance as
witnessed by the Board, and their extreme documented frontal lobe brain injuries, as
they are exhibiting all the signs of dangerous acquired sociopathy, per pro athlete
brain injury specialist, World Brain Injury Congress Speaker, and APBPA Medical
Director, Dr. Leighton Reynolds, leightonj@sbcglobal.net, (661) 478-0667.

Judge, | am hereby requesting as long a continuance, as can please be granted under
these extreme extenuating circumstances outlined here, to officially respond to this
litigation, and to hire appropriate counsel, if it is deemed ultimately necessary, after
the involved multiple law enforcement agencies have conciuded their active law
enforcement investigations, involving this matter. There has been no income received,
by me, in over 3 years due to me being catastrophically hurt at work, by my former
boss, and my being deemed permanently 100% disabled from my work injury, and
that this injury will most likely be fatal.

Mr. Fancher, as such, I'd like to request we please take a giant step back, especially
from wasting APBPA funds or the Court's time, as there are no damages accrued by
any of my actions or to ever be sought in my impoverished handicapped state, as I’m
penniless and about to be homeless. | request that you begin to ask your clients to
show you who legally elected them or approved their APBPA employment because it
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is not any legal past or present APBPA Board Members. None of them elected or
approve of your clients.

Let us please attempt to mediate this, without taking the Court's time, and racking up
unnecessary legal fees, so you can please investigate your client's baseless claims
and positions. It is clear, to the legal APBPA Board, that both Kameron Loe and Kevin
Simmons, if those are your clients, are not actively employed by the APBPA legal
Board, and were, in fact, both banned years ago, for their own documented
malfeasance, within the organization, including in front of a female MiLB umpire who
is the Director of APBPA's Women’s Services, who lived in my home office for 1/2 a
year in 2020, and traveled with me for years to baseball work meetings, and stayed in
close proximity in my hotel rooms with me and as such, is prepared to back up the
legal APBPA Board's accounts, also as a witness, and is also prepared to testify on the
legal APBPA Board Member’s behalf, against Mr. Fancher's clients. Umpire Perry
Barber umpireplb@aol.com. (917) 673-6169

Mr. Fancher, myself, the legal APBPA Board Members, the APBPA Medica! Director,
and the APBPA umpire Women’s Services Director believe, if you look at the APBPA
evidence file, I'm providing to you now, you'll ultimately find you're solely being duped
by two massively personally failed businessmen, one of who, Kameron Loe, has
massive frontal lobe brain damage which we believe is a direct factor in how he
believes he's above all laws, solely because he was a former MLB pitcher, and why he
has his $200,000 personal failed business judgment to pay off, that he can't pay with
his own work efforts or merit, without illegally stealing from the APBPA assistance
funds.

The legal Board Members of the APBPA are extremely confused by who is claiming to
be them, as the APBPA, in this lawsuit before the Court, as they ail stating they‘re not
suing me, as I'm on the APBPA Advisory Board, at their request, during my medical
leave.

As such, | hereby request, as much time as can be reasonably granted, to fully
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investigate, who are the actual litigants in this matter, as if it is solely Kameron Loe
and Kevin Simmons behind this, | request that the active Scottsdale Police, FBI, Dept
of Justice, Maricopa County District Attorney, AZ Attorney General investigations, and
the open US Bank fraud investigation into Mr. Francher's clients complete, as new
evidence came to light this week and was submitted as of today, from the APBPA's
assistance recipients, who rely on the APBPA to not go homeless, and they are
actively begging, especially the AZ Attorney General to intervene, against these two,
because they were never legally elected to the APBPA Board by any of the previous
APBPA or current APBPA Board Members.

Mr. Francher, also, my workers comp lawyer is Shawn Stuckey,
sstuckey@glennstuckey.com, (714) 644-8981, if you'd like to contact him as well to
investigate my work injury, and your clients legal standing, and not just what they're
verbally representing to you for their own benefit.

The current legal APBPA Board comprised of President Nate Miller, Howie Bedell,
Tony La Russa, Lenny Randle, and Eric Lenaburg are extremely confused and alarmed
by who is suing me, in this lawsuit, as they say it is not them.

Past Board Members from my Board as APBPA President from Dec, 2019-May, 2023,
when Nate Miller was elected to replace me on medical leave, say they aren‘t suing
me either, which was Howie Bedell, Tony La Russa, Tom Gamboa, Wes Parker, Fred
Claire, Dusty Baker, and Brooks Robinson and Dick Beverage, both of whom have
since passed on, but their last emails were supporting me and the legal APBPA Board,
and not Mr. Fancher's clients.

If your clients cannot show you written votes for them, in a valid Board election, from
2019-2023, or any type of support by any of those listed here, there's 0 others who
could legally grant them any legal employment access to the APBPA and it's funding,
as those are the only legal APBPA Board Members in existence from 2019-now.

Finally, I'm not even permitted to do my medically prescribed physical therapy as my
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constant tachycardia and bradycardia heart arrhythmias, caused by my injury, have
been deemed unsafe to continue by Harper Physical Therapy. I'm begging for mercy
from the Court and from you, Mr. Francher, as one must wonder why you'd choose to
file a lawsuit against me instead of just reach out to me.

I'm penniless, and would never break laws within the APBPA, or with its logo usage, so
the only other purpose of a lawsuit, is to affect the outcome of the multiple open law
enforcement investigations, into your clients, for which they are facing prison time for
_ illegally stealing assistance funding from the APBPA, which is what their paying your

' legal fees with currently instead of keeping 30+ families from being homeless.

Please talk to your clients, Mr, Francher. Please find out their true motives behind this
lawsuit. The legal Board Members are certain you'll discover you're two clients are
angry at me, for telling the truth about their friend, my former boss who
catastrophically hurt me at work, and they’re desperate for money after both their
personal business did and are failing completely. Please !ook at Kevin Simmons, The
Autograph Ball website. Please notice how the APBPA logo is the first thing one sees
there. The Board does not authorize use of its logo for Kameron and Kevin to utilize
on their personal work sites, nor to sell alcohol with no legal liquor license to do so, on
the hacked Apbpa website.

Thank you for your time in this matter and for bearing with my injured and seriously
handicapped efforts to comply with your requirements at this time. It's extremely
embarrassing and devastating how non functional | am, so please work with me
instead of terrorizing me with lawsuits, with no outcome possible, other than hurting a
nonprofit and it’s assistance recipients by taking funds for you and your client's own
pockets without one APBPA Board Member, past or present, authorizing it.

Best regards,
Jennifer Madison
(480) 341-6558
all inctudedt Hauer been

1844 ev 082) OWPARE 4:23-cv-01037-0 Deobitin tO FRR SERGE Pie ari te Pgoimtekts Attorney,

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service 6 Geant or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet, (SH INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I (a) PLAINTIFES DEFENDANTS

c

o
(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant 4
(EXCEPT IN U.S. PLAINTIFF CASES} GN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attomeys (Firm Name, Address, and Telephone Number) Attomeys (ifKnown}
I. BASIS OF JURISDICTION (Place an "X” in One Box Only} I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “XN” in One Box for Plaintiff
(For Diversity Cases Only) and One Bax for Defendant}
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Plaintiff (U.S Government Not a Party} Citizen of This State {] l c] 1 Incorporated or Principal Place LC] 4 [ja
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Defendant (indicate Citizenship of Parties in Item Hi) of Business In Another State
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IV. NATURE OF SUIT

ONTRACT. : FORTERTURIUPENALTY ©. BANKROPTC ‘A
110 Insurance PERSONAL INJURY PERSONAL INJERY 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane CI 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Fam (31 USC
130 Miller Act 315 Airplane Product Product Liability  “Je90 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability [_}367 Health Care/ Se INTELL ECIUAL © cb _| 400 State Reapportionment
150 Recovery of Overpayment Yt 320 Assault, Libel & Pharmaceutical : 450 Antitrust
& Enforcement of Judgment Slander Personal Injury $20 Copyrights 430 Banks and Banking
151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
H 152 Recovery of Defaulted Liability []368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans} 345 Marine Product Liability Corrupt Organizations
CT] 153 Recovery of Overpayment Liability PERSONAL PROPERTY ue 880 Defend Trade Secrets | 480 Consumer Credit
__ __ of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
|_j 160 Stockholders’ Suits | 355 Motor Vehicle -| 371 Truth in Lending Act | 485 Telephone Consumer
v] 190 Other Contrast Product Liability {_] 380 Other Personat [~]720 Labor/Management Protection Act
|_| 195 Contract Product Liability | 360 Ofher Personal Property Damage Relations 861 HIA c3esh 490 Cable/Sat TV
| {196 Franchise injury C] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) $50 Securities/Commodities/
| 362 Personal Ingury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(p)) Exchange
Medical Malpractice Leave Act 864 SSID Tide XVI 890 Other Statutory Actions
"REAT PROPERTY: 05 42 CIVIL RIGHT; PRISONER: PETITIONS: 1790 Other Labor Litigation 865 RSI (405(g)) 891 Agricultural Acts
i | 210 Land Condemnation |_| 440 Other Civil Rights Habeas Corpus: | _|791 Employee Retirement 893 Environmental Matters
| "} 220 Foreclosure |_| 441 Voting | 463 Alien Detainee Income Security Act TERZ u 895 Freedom of Information
Yl 230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate 870 Taxes (U5. Plaintiff Act
_} 240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations 530 General | 87: RS—tThird Party 899 Administrative Procedure
| 290 All Other Real Property | 445 Amer. w/Disabilities -{_ | 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
-.] 446 Amer. w/Disabilities -[L_] $40 bdandamus & Other 465 Other Immigration [_] 950 Constitutionality of
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Cite the U.S. Civil Statute under which you are filing (De rot cite jurisdictional statutes unless diversity):

VE CAUSE OF ACTION

Brief description of cause:

VU. REQUESTED IN C1 CHECK iF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: []yes (]No
VILL RELATED CASE(S)
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